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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 24-3169                                                 September Term, 2024
                                                                        1:21-cr-00190-DLF-1
                                                    Filed On: February 10, 2025 [2099846]
United States of America,

               Appellee

        v.

Zachary Jordan Alam,

               Appellant

                                         ORDER

      The notice of appeal was filed on December 2, 2024, and docketed in this court
on December 4, 2024. Appellant has been allowed by the district court to prosecute the
appeal without prepayment of costs, and appellant is being represented on appeal by
the Federal Public Defender for the District of Columbia. It is, on the court's own motion,

       ORDERED that appellant submit the documents listed below by the dates
indicated.

         Docketing Statement Form                                   February 25, 2025
         Entry of Appearance Form (Attorneys Only)                  February 25, 2025
         Transcript Status Report                                   February 25, 2025

It is

       FURTHER ORDERED that appellant submit a transcript status report every 15
days after the filing of the initial report, until all transcripts have been received. Within
three days of receipt of all transcripts, appellant is directed to file a Final Status Report
indicating the date the complete transcript was received. All reports must be served on
the parties and each reporter. It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.
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                 United States Court of Appeals
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                                      ____________

No. 24-3169                                                 September Term, 2024

       The Clerk is directed to transmit a copy of this order to trial counsel, Steven
Metcalf II. Trial counsel is directed to transmit all papers in his possession, including
any transcripts prepared under the Criminal Justice Act, to appellate counsel as
promptly as possible.

                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Scott H. Atchue
                                                          Deputy Clerk

The following forms and notices are available on the Court's website:

       Criminal Docketing Statement Form
       Entry of Appearance Form
       Transcript Status Report Form




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